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Case 3:17-cv-06064-BHS Document 41 Filed 07/09/18 Page 1 of 4

Daniel J. Gibbons, WSBA #33036 The Honorable Benjamin H. Settle
Steven J. Dixson, WSBA #38101
WITHERSPOON - KELLEY

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Attorneys for Defendants Bank of America,
N.A.; Mortgage Electronic Registration
Systems, Inc.; and Merscorp Holdings, Inc.

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

JEREMY WOLFSON, Case No. 3:17-cv-06064-BHS
Plaintiff,
DECLARATION OF DANIEL J.
VS, GIBBONS IN SUPPORT OF
DEFENDANTS' MOTION TO DISMISS
BANK OF AMERICA. NATIONAL PLAINTIFF'S FIRST AMENDED
ASSOCIATION, its successors in interest COMPLAINT

and/or Assigns; MTC FINANCIAL INC. d/b/a
TRUSTEE CORPS; MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS
INC; MERSCORP HOLDINGS, INC.;
MAROON HOLDING, LLC;
INTERCONTINENTAL EXCHANGE, INC.;
FIRST MAGNUS FINANCIAL
CORPORATION, AN ARIZONA
CORPORATION

Does # 1-10, inclusive,

Defendants.

 

 

 

 

I Daniel J. Gibbons, declare and state as follows:

DECLARATION IN SUPPORT OF DEFENDANTS' E
MOTION TO DISMISS- | ie WITHERSPOON:KELLEY
Case No.: 3:17-cv-06064-BHS Attorneys & Counselors

{S1724092; 1} . . .
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1. I am an attorney for the law firm of Witherspoon Kelley, counsel of record for
Bank of America, N.A. (“BANA”), Mortgage Electronic Registration Systems, Inc. (“MERS”)

and MERSCORP Holdings, Inc. (‘MERSCORP” and collectively, the “Defendants”) in this
matter. I am over the age of eighteen (18), am competent to testify, and have personal
knowledge of the matters set forth in this Declaration. I make this Declaration in support of
Defendants’ Motion to Dismiss Plaintiff's Amended Complaint.

2. Attached hereto as Exhibit A is a true and correct copy of the Deed of Trust
recorded on April 27, 2007 under Pierce County Recorder's Office No. 200704271001 securing
the Note and encumbering the real property located at 16208 132nd Avenue East, Puyallup,
Washington 98374.

3. Attached hereto as Exhibit B is a true and correct copy of the Assignment
of Deed of Trust from MERS that assigned the Deed of Trust to Bank of America
recorded on June 25, 2013 under Pierce County Recorder's Office No. 201306250227.

4. Attached hereto as Exhibit C is a true and correct copy of the Quit Claim Deed
recorded on November 20, 2013 under Pierce County Recorder's Office No. 201311200452.

5. Attached hereto as Exhibit D is a true and correct copy of the Notice of
Trustee's Sale recorded on March 30, 2017 under Pierce County Recorder's Office No.
201703300242.

6. Attached hereto as Exhibit E is a true and correct copy of the bankruptcy docket
from the case of In Re Jeremy Wolfson, U.S. Bankruptcy Court, Western District of Washington
Case No. 17-42973-BDL-13.

7. Attached hereto as Exhibit F is a true and correct copy of the adversary docket
from the case of Wolfson vs. Bank of America, et al, U.S. Bankruptcy Court, Western District
of Washington Case No. 17-04081-BDL.

/Mi//

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DECLARATION IN SUPPORT OF DEFENDANTS'
MOTION TO DISMISS- 2 ie WITHERSPOON:KELLEY

Case No.: 3:17-cv-06064-BHS Attorneys & Counselors

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I declare under penalty of perjury under the laws of the State of Washington and the

United States of America that the foregoing is true and correct.

Respectfully submitted this 9th day of July, 2018.

DECLARATION IN SUPPORT OF DEFENDANTS'
MOTION TO DISMISS- 3
Case No.: 3:17-cv-06064-BHS

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WITHERSPOON * KELLEY ~

 

Aaniel J. Gibbon’, WSBA # 33036

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Merscorp Holdings, Inc.

Wie WITHERSPOON:KELLEY

Attorneys & Counselors

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CERTIFICATE OF SERVICE
I hereby certify that on the 9th day of July, 2018,

1. I caused to be electronically filed the foregoing DECLARATION OF DANIEL
J. GIBBONS IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S
FIRST AMENDED COMPLAINT with the Clerk of the Court using the CM/ECF System
which will send notification of such filing to the following:

Jeremy Wolfson: —jerwolfson@gmail.com
Michael S. DeLeo: mdeleo@prklaw.com

Fred B. Burnside: — fredburnside@dwt.com

Frederick A Haist: frederickhaist@dwt.com

2. I hereby certify that I have mailed by United States Postal Service the foregoing
document to the following non-CM/ECF participants at the address listed: None.

3. I hereby certify that I have mailed by United States Postal Service the document
to the following CM/ECF participants at the address listed below: None.

4. I hereby certify that I have hand-delivered the document to the following
participants at the addresses listed below: None.

s/Daniel J. Gibbons
Daniel J. Gibbons, WSBA # 33036
djg@witherspoonkelley.com
WITHERSPOON * KELLEY
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Attorneys for Defendants Bank of America, N.A.
Mortgage Electronic Registration Systems, Inc.; and
Merscorp Holdings, Inc.

DECLARATION IN SUPPORT OF DEFENDANTS'
MOTION TO DISMISS- 4 I WITHERSPOON:KELLEY
Case No.: 3:17-cv-06064-BHS Attorneys & Counselors

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